                 23-22422-shl                   Doc 4         Filed 06/04/23 Entered 06/05/23 00:10:44                                             Imaged
                                                             Certificate of Notice Pg 1 of 4

 Information to identify the case:
 Debtor
                Hello Livingston Extended LLC                                               EIN:    81−4659158
                Name

 United States Bankruptcy Court     Southern District of New York                           Date case filed for chapter:       11       6/2/23

            23−22422−shl
 Case number:

Official Form 309F1 (For Corporations or Partnerships)
Notice of Chapter 11 Bankruptcy Case                                                                                                                   10/20




For the debtor listed above, a case has been filed under chapter 11 of the Bankruptcy Code. An order for relief has
been entered.
This notice has important information about the case for creditors and debtors, including information about the
meeting of creditors and deadlines. Read both pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to collect debts
from the debtor or the debtor's property. For example, while the stay is in effect, creditors cannot sue, assert a deficiency, repossess property, or
otherwise try to collect from the debtor. Creditors cannot demand repayment from the debtor by mail, phone, or otherwise. Creditors who violate the stay
can be required to pay actual and punitive damages and attorney's fees.
Confirmation of a chapter 11 plan may result in a discharge of debt. A creditor who wants to have a particular debt excepted from discharge may be
required to file a complaint in the bankruptcy clerk's office within the deadline specified in this notice. (See line 11 below for more information.)
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below or
through PACER (Public Access to Court Electronic Records at https://pacer.uscourts.gov).

The staff of the bankruptcy clerk's office and the office of the U.S. Trustee cannot give legal advice.

Do not file this notice with any proof of claim or other filing in the case.

  1. Debtor's full name                        Hello Livingston Extended LLC


  2. All other names used in the
     last 8 years

                                               46 Main Street
  3. Address                                   Suite 176
                                               Monsey, NY 10952

  4. Debtor's attorney                         Robert Leslie Rattet                                      Contact phone 212−557−7200
      Name and address                         Davidoff Hutcher & Citron LLP
                                               605 Third Avenue                                          Email: rlr@dhclegal.com
                                               New York, NY 10158

  5. Bankruptcy clerk's office                  300 Quarropas Street                                      Office Hours: Monday − Friday 8:30 AM − 5:00
      Documents in this case may be filed       White Plains, NY 10601                                    PM
      at this address.
      You may inspect all records filed in                                                                Contact phone 914−467−7250
      this case at this office or online at     Clerk of the Bankruptcy Court:
      https://pacer.uscourts.gov.               Vito Genna                                                Date: 6/2/23


  6. Meeting of creditors                     June 29, 2023 at 01:00 PM                              Location:
      The debtor's representative must
      attend the meeting to be                The meeting may be continued or adjourned to a later   Teleconference *ONLY*, Contact UST's
      questioned under oath.                  date. If so, the date will be on the court docket.     Office for direction,
      Creditors may attend, but are not
      required to do so.                      Cell phones are not permitted in the Courthouse
                                                                                                     https://www.justice.gov/ust−regions−r02
                                              without an Attorney Secure Pass which can be
                                              obtained at the U.S. District Court Clerk's Office.

                                                                                                           For more information, see page 2 >




Official Form 309F1 (For Corporations or Partnerships)                    Notice of Chapter 11 Bankruptcy Case                                        page 1
                23-22422-shl                  Doc 4          Filed 06/04/23 Entered 06/05/23 00:10:44                                                 Imaged
                                                            Certificate of Notice Pg 2 of 4
Debtor Hello Livingston Extended LLC                                                                                        Case number 23−22422−shl


  7. Proof of claim deadline                 Deadline for filing proof of claim:                           Not yet set. If a deadline is set, the court will
                                                                                                           send you another notice.
                                             A proof of claim is a signed statement describing a creditor's claim. A proof of claim form may be obtained
                                             at www.uscourts.gov or any bankruptcy clerk's office.

                                             All Proofs of Claim must be filed electronically on the Court's website or mailed
                                             to the court at the address listed in section 5.
                                             Your claim will be allowed in the amount scheduled unless:
                                             • your claim is designated as disputed, contingent, or unliquidated;
                                             • you file a proof of claim in a different amount; or
                                             • you receive another notice.
                                             If your claim is not scheduled or if your claim is designated as disputed, contingent, or unliquidated, you
                                             must file a proof of claim or you might not be paid on your claim and you might be unable to vote on a plan.
                                             You may file a proof of claim even if your claim is scheduled.
                                             You may review the schedules at the bankruptcy clerk's office or online at https://pacer.uscourts.gov.
                                             Secured creditors retain rights in their collateral regardless of whether they file a proof of claim. Filing a
                                             proof of claim submits a creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer can
                                             explain. For example, a secured creditor who files a proof of claim may surrender important nonmonetary
                                             rights, including the right to a jury trial.


  8. Exception to discharge                  If § 523(c) applies to your claim and you seek to have it
     deadline                                excepted from discharge, you must start a judicial
      The bankruptcy clerk's office must     proceeding by filing a complaint by the deadline stated
      receive a complaint and any            below.
      required filing fee by the following   Deadline for filing the complaint:                             __________
      deadline.


                                             If you are a creditor receiving notice mailed to a foreign address, you may file a motion asking the court to
  9. Creditors
     address
               with a foreign                extend the deadlines in this notice. Consult an attorney familiar with United States bankruptcy law if you
                                             have any questions about your rights in this case.


                                             Chapter 11 allows debtors to reorganize or liquidate according to a plan. A plan is not effective unless the
                                             court confirms it. You may receive a copy of the plan and a disclosure statement telling you about the plan,
  10. Filing a Chapter 11
      bankruptcy case
                                             and you may have the opportunity to vote on the plan. You will receive notice of the date of the confirmation
                                             hearing, and you may object to confirmation of the plan and attend the confirmation hearing. Unless a
                                             trustee is serving, the debtor will remain in possession of the property and may continue to operate its
                                             business.


                                             Confirmation of a chapter 11 plan may result in a discharge of debts, which may include all or part of your
                                             debt. See 11 U.S.C. § 1141(d). A discharge means that creditors may never try to collect the debt from the
  11. Discharge of debts                     debtor except as provided in the plan. If you want to have a particular debt owed to you excepted from the
                                             discharge and § 523(c) applies to your claim, you must start a judicial proceeding by filing a complaint and
                                             paying the filing fee in the bankruptcy clerk's office by the deadline.




Official Form 309F1 (For Corporations or Partnerships)                    Notice of Chapter 11 Bankruptcy Case                                           page 2
                  23-22422-shl              Doc 4          Filed 06/04/23 Entered 06/05/23 00:10:44                                   Imaged
                                                          Certificate of Notice Pg 3 of 4
                                                              United States Bankruptcy Court
                                                              Southern District of New York
In re:                                                                                                                 Case No. 23-22422-shl
Hello Livingston Extended LLC                                                                                          Chapter 11
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0208-7                                                  User: admin                                                                 Page 1 of 2
Date Rcvd: Jun 02, 2023                                               Form ID: 309F1                                                            Total Noticed: 36
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.

^                Addresses marked '^' were sent via mandatory electronic bankruptcy noticing pursuant to Fed. R. Bank. P. 9036.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Jun 04, 2023:
Recip ID                   Recipient Name and Address
db                     +   Hello Livingston Extended LLC, 46 Main Street, Suite 176, Monsey, NY 10952-3056
8025325                +   293 Livingston Realty LLC, Attn: Jack Glanzberg, Molod Spitz & DeSantis, P.C., 1430 Broadway, 21st Floor, New York, NY 10018-3347
8025326                +   Abel Ochoa, c/o Zaremba Brown PLLC, Attn: Andrew Kreidman, Esq., 40 Wall Street, 52nd Fl., New York, NY 10005-1380
8025327                +   Acres Loan Orgination, LLC, 865 Merrick Avenue, Ste. 200S, Westbury, NY 11590-6905
8025329                +   Best Super Cleaning LLC, 5014 16th Avenue, #231, Brooklyn, NY 11204-1404
8025330                +   Capital Concrete NY, Inc., 199 Lee Avenue, #421, Brooklyn, NY 11211-8036
8025331                +   Classic Touch USA Corp., 223 Spencer Street, #304, Brooklyn, NY 11205-5187
8025332                +   Core Scaffold Systems, Inc., 417 Myrtle Avenue, Ste. 14, Brooklyn, NY 11205-2426
8025333                +   Corporation Counsel, Bankruptcy Litigation Dept., 100 Church Street, Rm. 5-240, New York, NY 10007-2601
8025334                +   Cube 4 Equities, Inc., 29 Exeter Street, Brooklyn, NY 11235-3703
8025336                +   Gene Kaufman Architect, P.C., 79 Fifth Avenue, 18th Fl., New York, NY 10003-3075
8025338                +   International Tile Collection, Inc., 6 Mosley Avenue, Staten Island, NY 10312-4114
8025340                +   Jhonatan F. Gonzalez Romero, c/o Sheps Law Group, P.C., Attn: Robert C Sheps, 25 High Street, Huntington, NY 11743-3418
8025341                +   Johnder Barreno, c/o Silberstein, Awad & Miklos, P.C., Attn: Chelsea Horowitz, Esq., 600 Old Country Road, Ste. 505, Garden City, NY
                           11530-2008
8025342                +   Jun's Construction Inc., 122-03 14th Avenue, College Point, NY 11356-1711
8025339                +   Kriss & Feuerstein LLP, Attn: Jerold C. Feuerstein, Esq., 360 Lexington Avenue, Suite 1200, New York, NY 10017-6555
8025343                +   Live Lion Security LLC, 5014 16th Avenue, #231, Brooklyn, NY 11204-1404
8025344                +   MLS Service Group Inc., 5308 13th Avenue, #150, Brooklyn, NY 11219-5198
8025345                +   NYC Dept. of Finance, Office of Legal Affairs, 66 John Street, Rm. 104, New York, NY 10038-3728
8025347                +   Office of the U.S. Trustee, One Bowling Green, Ste. 534, New York, NY 10004-1459
8025349                +   PBS Services, Inc., 4403 15th Avenue, Brooklyn, NY 11219-1604
8025348                +   Park Lumber Yard Corp., 1071 38th Street, Brooklyn, NY 11219-1012
8025350                +   Prestige Construction NY LLC, 4010 14th Avenue, Brooklyn, NY 11218-3508
8025351                +   Prime Piping & Heating, Inc., 543 Bedford Avenue, #269, Brooklyn, NY 11211-8511
8025352                +   Soho Masons Corp., 1046 54th Street, Brooklyn, NY 11219-4042
8025353                +   Worldwide Plumbing Supply, Inc., 4002 15th Avenue, Brooklyn, NY 11218-4410
8025354                +   Wu 291 Realty LLC, c/o Kasowitz Benson Torres LLP, Attn: David H. Kupfer, Esq., 1633 Broadway, New York, NY 10019-6708
8025355                +   YD Wood Floors LLC, 1440 61st Street, Brooklyn, NY 11219-5407

TOTAL: 28

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                   Notice Type: Email Address                                   Date/Time                 Recipient Name and Address
aty                        Email/Text: rlr@dhclegal.com
                                                                                        Jun 02 2023 19:12:00      Robert Leslie Rattet, Davidoff Hutcher & Citron
                                                                                                                  LLP, 605 Third Avenue, New York, NY 10158
smg                        Email/Text: labor.sm.ui.bankruptcy@labor.ny.gov
                                                                                        Jun 02 2023 19:12:00      N.Y. State Unemployment Insurance Fund, P.O.
                                                                                                                  Box 551, Albany, NY 12201-0551
smg                        Email/Text: nys.dtf.bncnotice@tax.ny.gov
                                                                                        Jun 02 2023 19:12:00      New York State Tax Commission,
                                                                                                                  Bankruptcy/Special Procedures Section, P.O. Box
                                                                                                                  5300, Albany, NY 12205-0300
smg                    + Email/Text: USANYS.Bankruptcy@usdoj.gov
                                                                                        Jun 02 2023 19:12:00      United States Attorney's Office, Southern District
                                                                                                                  of New York, Attention: Tax & Bankruptcy Unit,
                                                                                                                  86 Chambers Street, Third Floor, New York, NY
                  23-22422-shl             Doc 4        Filed 06/04/23 Entered 06/05/23 00:10:44                               Imaged
                                                       Certificate of Notice Pg 4 of 4
District/off: 0208-7                                                 User: admin                                                          Page 2 of 2
Date Rcvd: Jun 02, 2023                                              Form ID: 309F1                                                     Total Noticed: 36
                                                                                                            10007-1825
ust                     ^ MEBN
                                                                                   Jun 02 2023 19:08:56     United States Trustee, Office of the United States
                                                                                                            Trustee - NY, Alexander Hamilton Custom House,
                                                                                                            One Bowling Green, Room 534, New York, NY
                                                                                                            10004-1459
8025328                 + Email/Text: md@subinlaw.com
                                                                                   Jun 02 2023 19:12:00     Apolinar Dominguez-Hernandez, c/o Subin
                                                                                                            Associates LLP, Attn: Dominick Rendina, 150
                                                                                                            Broadway, 23rd Fl., New York, NY 10038-4329
8025337                   EDI: IRS.COM
                                                                                   Jun 02 2023 23:11:00     Internal Revenue Service, P.O. Box 7346,
                                                                                                            Philadelphia, PA 19101-7346
8025346                 + Email/Text: nys.dtf.bncnotice@tax.ny.gov
                                                                                   Jun 02 2023 19:12:00     NYS Dept. of Taxation & Finance, Attn: Office of
                                                                                                            Counsel, Bldg. 9, W.A. Harriman State Campus,
                                                                                                            Albany, NY 12227-0001

TOTAL: 8


                                                     BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID         Bypass Reason Name and Address
8025335                        Domingo Flores-Fernandez, Fabiano Martins De Carvalho, c/o Wingate, Russotti, Shapiro & Halperi, Attn: Noah Katz, Esq.,,
                               Carmine J. Goncalves, Esq., 420 Lexington Avenue
smg              *             Internal Revenue Service, PO Box 7346, Philadelphia, PA 19101-7346

TOTAL: 1 Undeliverable, 1 Duplicate, 0 Out of date forwarding address


                                                    NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Jun 04, 2023                                         Signature:          /s/Gustava Winters




                                  CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on June 2, 2023 at the address(es) listed below:
Name                               Email Address
Robert Leslie Rattet
                                   on behalf of Debtor Hello Livingston Extended LLC rlr@dhclegal.com
                                   rattet2we@gmail.com;ms@dhclegal.com;jsp@dhclegal.com;rattetrr89983@notify.bestcase.com;mdv@dhclegal.com

United States Trustee
                                   USTPRegion02.NYECF@USDOJ.GOV


TOTAL: 2
